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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

MARCUS O’DELL

            Plaintiff,                                 Case No. 18-12163
v.
                                                       Hon. Victoria A. Roberts

FCA US, LLC.,
GP STRATEGIES CORPORATION,
and POPULUS GROUP, LLC.

      Defendants.

GOLD STAR LAW, P.C.               JACKSON LEWIS P.C.
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Caitlin E. Malhiot (P76606)       Daniel C. Waslawski (P78037)
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                         JOINT MOTION TO STAY
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       NOW COMES the Plaintiffs and Defendants, by and through their

respective counsel and hereby move this Honorable Court to stay the proceedings

in this matter. In support of their Motion, the Plaintiff states:

       1.     The parties have agreed to dismiss this case without prejudice as to

Defendant Populus Group, LLC, and submit the claims against Populus Group,

LLC to arbitration.

       2.     The arbitration of the claims against Populus Group, LLC, may

resolve the entire matter, and will affect the remaining claims against the other

Defendants.

       3.     The parties now request a stay of all court proceeding pending the

conclusion of arbitration.

       4.     The parties do not wish to use this Honorable Court’s resources and

valuable time in litigating this matter as they believe that arbitration may resolve

this case, or will at least affect this case in such a way that proceeding with

litigation at this stage is not practical.

       WHEREFORE, the parties pray that this Court will grant their Joint Motion

to Stay.


Respectfully submitted,
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GOLD STAR LAW, P.C.               JACKSON LEWIS P.C.

 /s/ Caitlin E. Malhiot            /s/ Allan S. Rubin (w/ consent)
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                                  LITTLER MENDELSON, P.C.

                                   /s/ Gary C. Ankers (w/ consent)
                                  Gary C. Ankers (P41599)
                                  Sarah L. Simmons (P74931)
                                  Attorneys for Defendant Populus Grp., LLC

Date: September 26, 2018
